Case 8:20-cv-02293-VMC-TGW Document 115 Filed 04/03/23 Page 1 of 5 PageID 4704




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 SHIQIONG HUANG, et al.,


                    Plaintiff,


        v.                                           Case No. 8:20-CV-02293-T-33TGW


 TRINET HR III, INC., et al.,


                    Defendant.



             UNOPPOSED MOTION TO SET A TRIAL DATE FOR THE
                         WEEK OF JUNE 5, 2023

        Defendants, by and through their attorneys, respectfully request that the Court

 schedule the trial in this matter for the week of June 5, 2023 to avoid certain

 unavoidable scheduling conflicts. The parties believe that the trial in this matter can

 be concluded in a week or less. If a subsequent date is more convenient for the Court,

 Defendants’ counsel respectfully requests that the trial be scheduled for one of the

 weeks of August 7, 14, or 28, or for the October trial terms. 1

        In support of this Motion, Defendants state as follows:




 1
  As noted below, Defendants’ counsel has other trials already scheduled in July 2023 and September
 2023, and one of Defendants’ witnesses will be unavailable during the first two weeks in July 2023.
Case 8:20-cv-02293-VMC-TGW Document 115 Filed 04/03/23 Page 2 of 5 PageID 4705




        1.     On November 30, 2022, the Court entered an Amended Case

 Management and Scheduling Order setting the trial for the April 2023 trial term. (Dkt.

 95). The parties’ counsel and their anticipated witnesses held that month open to

 ensure no scheduling conflicts with the trial dates. Due to the Court’s very busy trial

 calendar, it provided notice that it was unable to hear this case in April and moved the

 trial term to May 2023, and then June 2023. (Dkt. Nos. 110, 113).

        2.     Approximately six months ago (when trial was set for April 2023),

 Defendants’ in-house counsel, who has primary responsibility for supervising and

 overseeing the defense of this litigation, scheduled international travel in June, instead

 of April, in order to avoid a conflict with the potential trial during the April 2023 trial

 term. He purchased non-refundable international airline tickets and made hotel and

 related reservations for the week of June 17 through June 24. It would impose a

 significant financial and personal burden on Defendants’ in-house counsel to

 reschedule these travel plans, should the trial in this matter conflict with those dates.

        3.     In addition, one of Defendants’ fact witnesses has scheduled non-

 refundable travel beginning at the end of June through the first two weeks in July with

 her extended family.

        4.     To avoid the foregoing conflicts, Defendants respectfully request that the

 trial of this matter, if the Court deems one necessary, be scheduled for the week of

 June 5, 2023. As noted above, the parties believe that the trial in this matter can be

 concluded within a week. Defendants have confirmed with Plaintiffs’ counsel that

 Plaintiffs and their witnesses are available during the week of June 5.
Case 8:20-cv-02293-VMC-TGW Document 115 Filed 04/03/23 Page 3 of 5 PageID 4706




       5.       If the week of June 5, 2023 is inconvenient for the Court, or the Court is

 unable to give the parties a certain date at this time, Defendants’ counsel respectfully

 requests that the trial be scheduled for the August or October trial terms, as

 Defendants’ counsel has a two-week trial scheduled to begin on July 17, 2023 in the

 Wachala v. Astellas litigation pending in the Northern District of Illinois and a one-week

 trial scheduled to begin on September 18, 2023 in the Mills v. Molina Healthcare, Inc.

 litigation pending in the Central District of California.

       6.       This Request is not for the purposes of hindrance or delay, and no party

 will be prejudiced through the relief Defendants seek.

       7.       Defendants’ counsel has conferred with Plaintiffs’ counsel, and Plaintiffs

 have consented to this Request, so long as the trial is not scheduled for the first week

 in August, due to a pre-existing conflict. Accordingly, the Parties respectfully request

 that the trial be scheduled for either June 5 or the weeks of August 7, 14, or 28. Both

 parties wish to avoid any unnecessary delay or waste of time that would cause any

 inconvenience to the Court or its staff and hope to resolve this matter as expeditiously

 as possible.

                                     CONCLUSION

       WHEREFORE, Defendants respectfully request that the Court issue an Order

 setting the trial date for the week of June 5, 2023 (or for the weeks of August 7, 14, or

 28) and grant such further relief as it deems just and appropriate.
Case 8:20-cv-02293-VMC-TGW Document 115 Filed 04/03/23 Page 4 of 5 PageID 4707




                           RULE 3.01(g) CERTIFICATION

       In accordance with Local Rule 3.01(g), I hereby certify that I have conferred

 with counsel for the Plaintiff, who indicated that he consents to the relief sought in

 this Motion.



 Dated: April 3, 2023                         O’MELVENY & MYERS LLP


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Case 8:20-cv-02293-VMC-TGW Document 115 Filed 04/03/23 Page 5 of 5 PageID 4708




                              CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2023, I electronically filed the foregoing with

 the Clerk of the Court by using the CM/ECF system which will send a notice by

 email or electronic transmission to the following:

       Mark Gyandoh (markg@capozziadler.com)

       Joseph Michael Sternberg (joseph@landersandsternberg.com)

       Donald R. Reavey (donr@capozziadler.com)

       Thomas J. Sinclair (thomass@capozziadler.com)

       I declare under penalty of perjury under the laws of the United States that the

 above is true and correct.

       Executed on April 3, 2023 in Los Angeles, California.

                                                /s/ Catalina Vergara




                                          -2-
